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                     EXHIBIT A
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CJ* CT Corporation                                                         Service of Process
                                                                           Transmittal
                                                                           10/02/2017
                                                                           CT Log Number 532031513
   TO:     Pam Mandeville
           Selene Finance LP
           8201 Cypress Plaza Dr
           Jacksonville, FL 32256-4423


   RE:      Process Served in West Virginia
   FOR:    Selene Finance LP (Domestic State: DE)




   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:


   TITLE OF ACTION:                  R. APRIL HIGGINBOTTOM and A. PHILLIP HIGGINBOTTOM, Pltfs. vs. SELENE FINANCE
                                     LP and WELLS FARGO BANK, N.A., Dfts. // To: SELENE FINANCE LP

   DOCUMENT(S) SERVED:               Summons, Complaint

   COURT/AGENCY:                     Preston County Circuit Court, WV
                                     Case # 17C118

   NATURE OF ACTION:                 Wrongful Foreclosure

   ON WHOM PROCESS WAS SERVED:       C T Corporation System, Charleston, WV

   DATE AND HOUR OF SERVICE:         By Certified Mail on 10/02/2017 postmarked on 09/29/2017

   JURISDICTION SERVED:              West Virginia

   APPEARANCE OR ANSWER DUE:         Within 30 days after service, exclusive of the day of service

   ATTORNEY(S) I SENDER(S):          Lydia C. Milnes
                                     Mountain State Justice, Inc.
                                     215 South Third Street, Suite 901
                                     Clarksburg, WV 26301
                                     (304) 326-0188

   ACTION ITEMS:                     CT has retained the current log, Retain Date: 10/02/2017, Expected Purge Date:
                                     10/07/2017

                                     Image SOP

                                     Email Notification, Pam Mandeville pam.mandeville@selenefinance.com

                                     Email Notification, Christine Sahyers christine.sahyers@selenefinance.com

                                     Email Notification, Nate Tincher Nathaniel.Tincher@selenefinance.com

                                     Email Notification, Jean Pierre Sat Jeanpierre.sat@selenefinance.com

                                     Email Notification, Andrea Wellons andrea.wellons@selenefinance.com

                                     Email Notification, Selene Litigation litigation@selenefinance.com


   SIGNED:                           C T Corporation System
   ADDRESS:                          5400 D Big Tyler Road




                                                                           Page 1 of 2 / DB
                                                                           Information displayed on this transmittal is for CT
                                                                           Corporation's record keeping purposes only and is provided to
                                                                           the recipient for quick reference. This information does not
                                                                           constitute a legal opinion as to the nature of action, the
                                                                           amount of damages, the answer date, or any information
                                                                           contained in the documents themselves. Recipient is
                                                                           responsible for interpreting said documents and for taking
                                                                           appropriate action. Signatures on certified mail receipts
                                                                           confirm receipt of package only, not contents.
Case 1:17-cv-00184-IMK Document 1-1 Filed 10/27/17 Page 3 of 25 PageID #: 10


   CT Corporation                                           Service of Process
                                                            Transmittal
                                                            10/02/2017
                                                            CT Log Number 532031513
    TO:    Pam Mandeville
           Selene Finance LP
           8201 Cypress Plaza Dr
           Jacksonville, FL 32256-4423


    RE:    Process Served in West Virginia
    FOR:   Selene Finance LP (Domestic State: DE)




                                     Charleston, WV 25313
    TELEPHONE:                       919-821-7139




                                                            Page 2 of 2 / DB
                                                            Information displayed on this transmittal is for CT
                                                            Corporation's record keeping purposes only and is provided to
                                                            the recipient for quick reference. This information does not
                                                            constitute a legal opinion as to the nature of action, the
                                                            amount of damages, the answer date, or any information
                                                            contained in the documents themselves. Recipient is
                                                            responsible for interpreting said documents and for taking
                                                            appropriate action. Signatures on certified mall receipts
                                                            confirm receipt of package only, not contents.
Case 1:17-cv-00184-IMK Document 1-1 Filed 10/27/17 Page 4 of 25 PageID #: 11
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                                                       —*"
                                             «'- *''



Office of the Secretary of State
Building 1 Suite 157-K
1900 Kanawha Blvd E.                                                                             A.
                                                                                                                  m
Charleston, WV 25305
                                                                                                 •                »
                     USPS CERTIFIED MAfl."



                                                                                                  Mac Warner
                                                                                               Secretary of State
                                                                                              Stale of West Virginia
                                                                                            Phone: 304-558-6000
                  9214 UM 1281 3410 00021602 U
                                                                                                     886-767-8883
                                                                                                  Visit us online:
SELENE FINANCE LP                                                                                 www.wvsos.oom
C. T. Corporation System
5400 D Big Tyler Road
CHARLESTON. WV 25313




    Control Number: 203238                                                    Agent: C. T. Corporation System
        - Defendant: SELENE FINANCE LP                                      County: Preston
                     5400 D Big Tyler Road
                     CHARLESTON, WV 25313 US                            Civil Action: 17-0-116
                                                                  Certified Number: 92148901125134100002160286
                                                                      Service Date: 9/28/2017

I am enclosing:

      1 summons and complaint

which was served on the Secretary at the State Capitol as your statutory attorney-in-fact. According to law, I have accepted
service of process In your name and on your behalf.

Please note that this office has no connection whatsoever with the enclosed documents other than to accept service of
process in your name and on your behalf as your attorney-in-fact. Please address any questions about this document
directly to the court or the plaintiffs attorney, shown in the enclosed paper, not to the Secretary of State's office.




Sincerely,




Mac Warner
Secretary of State
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         IN THE CIRCUIT COURT OF                          COUNTY, WEST VIRGINIA

  R. APRIL fflGGINBOTTOM,
  A. PHILLIP fflGGINBOTTOM,
        Plaintiffs,
  v.                                                 CIVIL ACTION NO.           H'-C-Uf
                                                                                  Hfn        £2?

  SELENE FINANCE LP,                                                            pf"          5 /?£
  WELLS FARGO BANK, N.A.,                                                       rffj-    INJ        ?'f*i
                                                                                         OO        ^ O
       Defendants.                                                              —rr
                                                                                                       rn
                                                                                        "D           !C3
                                                     SERVE;                £.: • •
                                                                                        'V
                                                                           S:
                                                                                                   ' '-fj
                                                                                        Ns
                                                     ^Selene Finance LP
                                                      9990 Richmond Avenue
                                                     Suite 400
                                                     South, Houston, Texas 77042


                                           SUMMONS

  To: The Above-Named Defendant;

  IN THE NAME OF THE STATE OF WEST VIRGINIA,

          You are hereby summoned and required to serve upon Lydia C. Milnes/ Mountain State
  Justice, Inc., whose address is 215 South Third Street, Suite 901, Clarksburg, West Virginia,
  26301, ananswer, including any related counterclaim you may have, to the Complaint filed against
  you in the above-styled civil action, a true copy of which is herewith delivered to you.

          You are required to serve your answer to the Complaint within thirty (30) days after
  service of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment
  by default will be taken against you for the relief demanded in the Complaint and you will be
  thereafter barred from asserting in another action any claim you may have which must be
  asserted by counterclaim in die above-styled civil action.

                                                                 GtoiU

  Date: Stpbmhtr ^ J d / 7
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          IN THE CIRCUIT COURT OF PRESTON COUNTY, WEST VIRGINIA

R. APRIL HIGGINBOTTOM and
A. PHILLIP HIGGINBOTTOM,
        Plaintiffs,
v.                                                      CIVIL ACTION NO.           /-/-c-//#
                                                                                          "T;


                                                                                          rn       •   an
                                                                                          ~,'X.. _
                                                                                                       in
SELENE FINANCE LP and                                                                                  ro
                                                                                                       en
WELLS FARGO BANK, N.A.,                                                                  ». J —'



     Defendants.                                                                         cz            -t?   m
                                                                                                       3C    CD

                                                                                         =£
                                                                                                       ro
                                            COMPLAINT                                    c             cn


                This action arises out of illegal and abusive loan servicing practices, in which both

Defendants, who are servicers of a home mortgage loan, repeatedly assured Plaintiffs that they

would modify their loan while simultaneously telling them not to make payments, causing

 Plaintiffs to fall further and further behind, and ultimately resulting in the scheduling of foreclosure

 proceedings.    Defendant Wells Fargo Bank, N.A., instructed Plaintiffs April and Phillip

 Higginbottom not to make payments while being considered for a loan modification, entered into

 a loan modification with Plaintiffs, and then failed and refused to honor the agreement. Defendant

 Wells Fargo further made numerous misleading and false representations to Plaintiffs regarding

 the application of payments to their loan and the amounts due. After assuming the servicing of the

 loan. Defendant Selene Finance LP directed Plaintiffs not to make payments while being

 considered for a loan modification, and then moved to foreclose on Plaintiffs without first

 providing a notice of right to cure and while refusing to provide Plaintiffs with the amount needed

 to cure the deficiency. Plaintiffs bring this suit to save the home and for other relief.

                                                   PARTIES

        2.      Plaintiffs Rhonda April Higginbottom ("April") and Andrew Phillip Higginbottom

 ("Phillip") own the property located at 68 Watkins Ferry Way, Martinsburg, West Virginia. April


                                                    1
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works as a medical coder and Phillip works as a correctional officer. The couple have three young

children.

       3.      Defendant Selene Finance LP ("Selene") is a corporation doing business in West

Virginia with its principal place of business at 9990 Richmond Avenue, Suite 400 South, Houston,

Texas 77042. Defendant Selene is the current servicer of Plaintiffs' mortgage loan.

       4       Defendant Wells Fargo Bank, N.A. ("Wells Fargo") is a national bank with its

principal place of business at 101 North Phillips Avenue, Sioux Falls, South Dakota 57104,

Defendant Wells Fargo is the originator and former servicer of Plaintiffs' mortgage loan.

       5.        Pursuant to West Virginia Code § 46A-5-107, venue is proper in Preston County,

West Virginia.

                                       STATEMENT OF FACTS

        Home Purchase and Refinance

        6.       On April 30,2004, Plaintiffs April and Phillip Higginbottom purchased and moved

into a home located at 68 Watkins Ferry Way, Martinsburg, West Virginia, using a loan from the

West Virginia Housing Development Fund.

        7.       On April 20, 2005, Plaintiffs refinanced their home through Defendant Wells

 Fargo, increasing the loan principal balance to $186,751.00, with a fixed interest rate of 5.875%.

        2009 Modification

        8,       In or around the summer of 2009, after Phillip suffered a debilitating injury,

 Plaintiffs contacted Defendant Wells Fargo seeking assistance with their loan payments.

        9.       Defendant Wells Fargo informed Plaintiffs that they could not be considered for a

 loan modification until they were at least sixty (60) days behind on their payments.




                                                  2
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                                                                                 eligible for
       10.     Defendant's instructions were false. In fact. Plaintiffs would be
                                                                              t on their payments.
available programs if they were at risk of default, even if they were curren
                                                                                          nts in order
       11.     In compliance with these instructions, Plaintiffs stopped making payme

to become eligible for a loan modification.
                                                                                    iffs a loan
       12.     On or about September 24, 2009, Defendant Wells Fargo offered Plaint

modification agreement..
                                                                                     an adjustable
        13.    The modification initially decreased Plaintiffs' payment, but created
                                                                               of payments.
rate mortgage that would automatically adjust up after the first five years
                                                                                    offered by
        14.     Plaintiffs accepted the modification because it was the only option
                                                                           temporarily.
 Defendant Wells Fargo that provided them affordable payments, if only

        Mortgage Payments Steadily Increase
                                                                                     sed until it
        15.     From 2009 to 2015, the amount of Plaintiffs' mortgage payment increa
                                                                       payment had been before the
 reached $1455/month in 2015, nearly $200.00/month more than the

 2009 modification was executed.

         Wells Fargo Consent Order
                                                                                              regarding
         16.    In 2011, Defendant Wells Fargo entered into a nationwide consent order
                                                                      standards be followed in its
 its servicing of home-secured mortgages, which required that certain
                                                                      timely communications in
 future loan servicing, including requirements regarding accurate and

  the collections and loss mitigation process.

         Misleading and Inaccurate Account Statements
                                                                                  Fargo issued
         17.     During the course of servicing Plaintiffs' loan, Defendant Wells
                                                                     ation regarding the amount
  numerous monthly statements containing false and inaccurate inform

  due on the loan.



                                                   3
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         18.    For example, Plaintiffs made a double payment to Defendant Wells Fargo in March

2015.

         19.    Neither the March 2015 nor April 2015 account statements issued by Wells Fargo

reflect or credit Plaintiffs with the double payment made in March.

         20.    Likewise, the March 2015 and April 2015 Wells Fargo account statements

 inaccurately state that Plaintiffs owed significantly more than was actually due on their loan.

         21.    Similarly, Plaintiffs made payments to Defendant Wells Fargo in June and July

 2015.

         22.    Wells Fargo's account statements issued to Plaintiffs in July and August 2015 do

 not reflect receipt of these payments and inaccurately state that Plaintiffs owed for the months of

 June, July, and August 2015.

         Holding Payments in Suspense

         23.    Throughout the servicing of the loan, Defendant Wells Fargo regularly held

 payments made by Plaintiffs in a "suspense" or "unapplied funds" account rather than timely

 applying said payments to the account.

          24.    For example, Plaintiffs made a payment to Wells Fargo in or around October 2015,

 which Defendant Wells Fargo held in an unapplied funds account, rather than applying to the

 amounts due and owing.

          2015 Modification Request

          25.    In or around August 2015, Plaintiffs contacted Defendant Wells Fargo to ask for a

  loan modification because they were struggling with the payments, which had increased over their

  original loan payments due to the 2009 loan modification's step rate feature.

          26.    (a)     During the phone call with Defendant, Plaintiffs offered to make a payment.




                                                   4
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               (b)    Defendant Wells Fargo advised Plaintiffs they were required to be between
                                                                                       modification.
60 and 90 days behind on their mortgage in order to be permitted to apply for a loan

               (c)     Pursuant to Defendant's instructions, Plaintiffs did not make the loan

payment, so that they could be eligible for a loan modification.

               (d)     Defendant's instructions were false. In fact, Plaintiffs would be eligible for
                                                                                              on their
available programs if they were at risk of default, regardless of whether they were current

 payments.

        26.    Plaintiffs filled out a loan modification application.

        27.    Thereafter, Defendant offered Plaintiffs a loan modification. Said offer stated that
                                                                                       complete
 Plaintiffs were required to make three trial payments, at which point Defendant would

 the modification of the loan.

        28.     Plaintiffs accepted the offer.

        23.     Plaintiffs performed on the contract; In October 2015, November 2015, and

 December 2015, Plaintiffs made trial payments of $1074.89 a month.

        24.     In January 2016, despite its agreement to modify the subject loan upon receipt of
                                                                            modification
 the trial period payments. Defendant Wells Fargo refused to honor the loan

 agreement.

         Continued Inaccurate and Misleading Account Statements

         25.    During the trial loan modification period. Defendant Wells Fargo continued to send
                                                                                         more money
  Plaintiffs account statements with incorrect and misleading information, demanding

  than was due and owing on the loan.

         26.     For example, on or about November 9, 2015, Defendant Wells Fargo issued
                                                                                  placed in the
  Plaintiffs an account statement indicating that a payment had been received and



                                                   5
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                                                                           nts for the prior five
unapplied fimds account. Confusingly, the statement further demanded payme

months, and alleged an incorrect total amount due.
                                                                               16, 2015,
       27.     Thereafter, approximately seven days later on or about November
                                                                              "no transactions have
Defendant Wells Fargo sent a second statement which incorrectly stated that
                                                                         ent date," and again
occurred on your loan between the last billing statement and this statem

demanded the same incorrect amount due from Plaintiffs.
                                                                                    ffs on
        28.    Similarly confusing and inconsistent statements were sent to Plainti

December 15,2015, and December 16,2015.

        Renewed Requests for Loan Modification
                                                                                                 Fargo
        29.     Shortly after refusing to honor the 2015 loan modification. Defendant Wells
                                                                               ly for a modification.
 sent Plaintiffs a new loan modification packet, and suggested that they re-app
                                                                                                s again.
        30.     In February 2016, Plaintiffs began the loan modification application proces
                                                                                               payments
        31.     Defendant Wells Fargo instructed Plaintiffs that it would not accept loan

 while it was reviewing Plaintiffs for the loan modification.
                                                                                    for their
         32.    Plaintiffs were instead directed to submit supporting documentation

 packet, and often the same documents were requested over and over again.
                                                                                               ffs a new
         33.    In or around August 2016, Defendant Wells Fargo once again sent Plainti
                                                                            s anew.
 loan modification application packet to start the loan modification proces
                                                                                          and were
         34.    Plaintiffs once again filled out the loan modification application packet
                                                                                   entation.
 told that they had until September 15,2016, to submit their supporting docum

         35.     Plaintiffs submitted the documents requested by Defendant.
                                                                                             the
         36.     Nevertheless, Defendant Wells Fargo continued to contact Plaintiffs through
                                                                                  over.
  fall, once again asking for the same documents to be re-submitted, over and



                                                   6
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                                                                                      Plaintiffs a letter
       37.     Finally, on or about January 6,2017, Defendant Weils Fargo sent
                                                                   .
indicating that their modification application was ready for review

       Transfer of Servicing to Defendant Selene
                                                                                     the loan had been
       38.     In January 2017, Plaintiffs received notices informing them that
                                                                   Selene Finance LP, effective
sold, and servicing of the loan was being transferred to Defendant

February 14,2017.
                                                                                 dant Selene
        39.    Immediately after the servicing transfer, Plaintiffs called Defen
                                                                           g payments.
regarding their ongoing modification request and asking about makin
                                                                            not to make
        40.    Like Defendant Wells Fargo, Defendant Selene told Plaintiffs
                                                                       .
payments while they were being considered for a loan modification
                                                                                           a letter stating
        41.     On or about February 21, 2017, Defendant Selene mailed Plaintiffs
                                                                      dant Wells Fargo, that the
 that it had the most recent loan modification application from Defen
                                                                           on on loss mitigation would
 application was complete, and that it would be reviewed and a decisi

 be issued by March 19, 2017.
                                                                                         contradicting the
        42.     On February 24,2017, Defendant Selene mailed Plaintiffs a letter
                                                                  which were purportedly needed
 prior letter, listing twenty-two allegedly outstanding documents

 in order to complete the loss mitigation review.
                                                                         letter had been
         43.    Many of the documents demanded by the February 24, 2017,
                                                               irrelevant and could not be
 previously submitted by Plaintiffs; many other documents were
                                                                           divorce decree.
 provided, such as requests for a death certificate, probated will, and
                                                                              were in their
         44.     Plaintiffs continued to provide the requested documents that
                                                                            e issued a letter to Plaintiffs
  possession to Selene. However, on March 28, 2017, Defendant Selen
                                                                           denied, because the Plaintiffs
  stating that their request for loan modification assistance was being



                                                    7
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had allegedly failed to return a completed Financial Workout Package and Supporting

Documentation.

       45.    This was false; as Wells Fargo had confirmed, Plaintiffs had submitted a complete

loan modification application packet on or before January 6,2017.

       New Modification Request to Defendant Selene

       45.    Plaintiffs, who did not understand why Selene had denied the modification,

contacted Selene and asked to be reviewed again for a modification.

       46.    Plaintiffs submitted a new uniform borrower assistance form and supporting

documents on or about April 18, 2017.

       47.    On April 25, 2017, Selene notified Plaintiffs that it was in receipt of their request.

but that additional documentation was needed. Selene requested fourteen additional documents.

many of which were repetitive, contradictory, and confusing. For example, Selene requested "6

Months Most Recent Bank Statements for all Accounts Evidencing Continuation of Business

Activity (all pages) 6 months business," This was confusing, as Plaintiffs do not own or operate a

business.

       48.     The letter additionally stated that certain documents, such as two years signed tax

returns, were need to complete the loss mitigation package, but then confusingly and

contradictorily stated that those documents had already been submitted.

       49.     In an effort to meet Defendant Selene's confusing and contradictory requests,

Plaintiffs regularly contacted Defendant Selene and continued to send in documents relating to the

loan modification application.




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       Discovery of Internal BPO requirement
                                                                                               they
       50.     In or around May 2017, Plaintiffs contacted Defendant Selene to find out why
                                                                                 n.
were continuing to be told that they had not submitted all their documentatio
                                                                                               fs if
       51.     Plaintiffs spoke with a different representative from usual, who asked Plaintif

they wanted to schedule their "internal BPO."

       52.     (a)     Plaintiffs had never been informed of the need to have an "internal BPO,"
                                                                                 Selene,
or internal inspection of their home, and had no idea that this as required by

               (b)     When entering into the loan modification process with Selene, Plaintiffs
                                                                             referred to Selene's
 did not receive a packet with the application requirements, but were rather

 webpage.

               (c)     The Selene webpage did not list "internal BPO" as one of the requirements

 for obtaining a loan modification.
                                                                              regular
        53.     Plaintiffs called Defendant Selene again and spoke with their
                                                                           ment to obtain an
 representative, and asked why they had never been informed of the require
                                                                                 't take long to
 internal BPO; the representative told them that it wasn't a big deal and wouldn

 complete.
                                                                                               nt real
         54.    Plaintiffs were then contacted by a company from Colorado and three differe
                                                                                 their home.
 estate agents; Plaintiffs were confused about who was supposed to come to
                                                                                               ation,
         55.    When Plaintiffs tried to get in touch with the company in Colorado for clarific

 they did not receive a response.
                                                                                                  ant
         56.    Plaintiffs then tried to contact Selene to find out what was going on, and Defend

  Selene told them that the request for the internal BPO had been cancelled.




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        Defendant Selene issues Misleading Notice of Default

        57.    (a)       On or about May 17, 2017, Defendant Selene sent Plaintiffs a notice of

default and intent to accelerate the loan balance.

               (b)       The May 17,2017, notice was in fact an actual notice of acceleration, stating

 that "in order to cure the default, you must remit $169,912.32 on or before June 16,2017."

               (c)       The May 17, 2017, notice was sent without providing Plaintiffs a notice of

 right to cure default, or providing them an amount owing in order to cure the default.

        Continued Loan Modification Run-Around

        58.     (a)      On or about May 23, 2017, Defendant Selene sent Plaintiffs yet another

 confusing and contradictory letter, stating on the one hand that numerous documents were missing,
                                                                                                   the
 but also stating many of those same documents had been submitted, and ultimately stating that

 loss mitigation request was still incomplete.

                (b)      The letter gave Plaintiffs until the next day. May 24, 2017, to provide the

 missing documents. Plaintiffs did not receive the letter until after the deadline.

                (c)       On May 26, 2017, Defendant Selene sent Plaintiffs a letter refusing their
                                                                                                 t
 request for a loan modification, allegedly for failing to provide a completed "Financial Workou

  Package and Supporting Documentation."

         59.    Plaintiffs contacted Defendant Selene again, and at Selene's direction, on or about
                                                                                                  loan
  June 20, 2017, Plaintiffs resent documentation to Defendant Selene in order to obtain a new

  modification review.




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        Referral to Foreclosure

        60.      Upon information and belief, on June 26, 2017, Defendant Selene referred
                                                                                      11, 2017, a
Plaintiffs' property for foreclosure, and the foreclosure sale was scheduled for July

mere fifteen days later.

          61.    (a)    On or about June 26,2017, at Selene's direction. Plaintiffs called Defendant

Selene.

                 (b)    Defendant Selene informed Plaintiffs it had no obligation to work with

 Plaintiffs, because it was within 37 days of the foreclosure sale.

                 (c)    Plaintiffs told a Selene representative that Plaintiffs would agree to a short
                                                                                               ation
 sale instead of a foreclosure on the subject home, but Defendant Selene redirected the convers

 toward a new loan modification.

                 (d)    Accordingly, on that date, Plaintiffs resubmitted all loan modification

 application documentation to Defendant Selene.

          62.    (a)       Also on or about June 26,2017, Plaintiffs contacted Selene to find out what

 amount would need to be paid in order to cure the deficiency.

                  (b)      The Selene representative told Plaintiffs that he could not provide an exact
                                                                                               need to
 figure, because he did not have the information regarding how much attorney fees would

  be paid.

           63.    From on or about June 26 until June 30, 2017, Plaintiffs continued attempting to

  contact Defendant Selene to obtain a reinstatement figure to no avail.

           64.    On July 3, 2017, Defendant Selene informed Plaintiffs that it was again denying
                                                                                      to submit a
  Plaintiffs' request for loss mitigation assistance, again for their alleged failure

  completed "Financial Workout Package and Supporting Documentation."



                                                     11
      Case 1:17-cv-00184-IMK Document 1-1 Filed 10/27/17 Page 18 of 25 PageID #: 25




                Damages

               65.      As the result of Defen
                                                     dants' delay and refusal
                                                                                 to accept payments, sig
       arrears have accrued on                                                                                nificant
                                   the loan that make it im
                                                              possible for Plaintiffs to
                                                                                          reinstate the loan or seek
       alternatives to foreclosur
                                    e, such as selling the ho
                                                              me or refinancing the loa
                                                                                           n.
               66.     If Plaintiffs had known
                                                   that Defendants Wells Fa
                                                                               rgo and Selene would no
      them with a loan modif                                                                               t provide
                                    ication or other assistan
                                                                ce, they would have so
                                                                                              ught alternatives to
     foreclosure before the ac
                                   crual of significant arrea
                                                               rs. For example, if Plain
                                                                                              tiffs had understood
     Defendants would not pr
                                  ovide them with a loan
                                                            modification or other as
                                                                                      sistance, they would ha
     made double payments                                                                                         ve
                                to get caught up while the
                                                              arrearage was still low.
             66.     Defendants Wells Farg
                                                 o and Selene did not
                                                                             follow commercially rea
    standards in servicing th                                                                             sonable
                                 e loan, including failin
                                                            g to comply with regula
                                                                                        tions and guidelines or
    commercially reasonable
                                 practices in servicing the
                                                              loan.
            67.     As a result of Defendants
                                                  ' conduct. Plaintiffs have
                                                                              suffered financial loss,
   their credit, annoyance an                                                                            harm to
                                 d inconvenience, emoti
                                                           onal distress, and fear of
                                                                                       foreclosure.
                                                CLAIMS FOR RELI
                                                                         EF
          COUNT I - MISREPR
                                      ESENTATIONS, TH
                                                               REATS AND UNFAIR
                                                                                            CONDUCT
           68.     Plaintiffs incorporate the
                                                preceding paragraphs by
                                                                            reference.
          69.      Defendants used fraudule
                                                nt, deceptive, or mislead
                                                                            ing representations or me
 collect or attempt to co                                                                                ans to
                            llect claims or to obtai
                                                        n information concerning
                                                                                      Plaintiffs as described
 above, including misrepr
                             esenting the amounts ow
                                                          ed and misrepresenting
                                                                                     the status and terms of
the account, in violation
                            of West Virginia Code §
                                                         46A-2-127.
         70.     Defendants used unfair
                                             or unconscionable mean
                                                                        s in an effort to collect
described above, including                                                                           a debt as
                               by refusing to honor the
                                                          loan modification agree
                                                                                    ment (Defendant Wells



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                                                                                that would
Fargo), refusing payments (both Defendants), and refusing to provide assistance
                                                                            moving to
address the damage caused by their own misconduct (both Defendants), and by
                                                                                  (Defendant
foreclose on Plaintiffs' without providing adequate notice or opportunity to cure

Selene), in violation of West Virginia Code § 46A-2-128.

        71.       Defendant Selene made unlawful threats in collecting on the loan, including by
                                                                                           n of section
 threatening the assessment of fees that it had no right to assess or collect, in violatio

 46A-2-124 of the West Virginia Code.

     WHEREFORE, Plaintiff respectfully requests the following relief:

              a. Maximum civil penalties per violation of the West Virginia Code, pursuant to

                 section 46A-5-I0I and -106 of the West Virginia Code, as appropriate;

              b. Actual damages;

              c. Reasonable attorney's fees and the cost of this litigation; and

              d. Such other relief as the Court deems equitable and just.

                         COUNT II - REFUSAL TO APPLY PAYMENTS

         72.       Plaintiffs incorporate the preceding paragraphs by reference.

         73.       As alleged herein. Defendants refused Plaintiffs' payments in violation of section

 46A-2-115 of the West Virginia Code.

      WHEREFORE, Plaintiffs respectfully request the following relief:

               a. Maximum civil penalties per violation of the West Virginia Code, pursuant to

                  section 46A-5-101 and -106 of the West Virginia Code, as appropriate;

               b. Actual damages;

               c. Reasonable attorney's fees and the cost of this litigation; and

               d. Such other relief as the Court deems equitable and just.



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                        COUNT III - ILLEGAL DEBT COLLECTION

       74.       Plaintiffs incorporate the preceding paragraphs by reference.

       75.       Defendant Selene referred Plaintiffs' property for foreclosure without providing

Plaintiffs a notice of right to cure default in the form and with the information required by West

Virginia Code section 46A-2-106.

        WHEREFORE, Plaintiffs respectfully request the following relief;

                a. Maximum civil penalties per violation of the West Virginia Code, pursuant to

                   section 46A-5-101 and -106 of the West Virginia Code, as appropriate;

                b. Actual damages;

                c. Reasonable attorney's fees and the cost of this litigation; and

                d. Such other relief as the Court deems equitable and just.

                                        COUNT IV-FRAUD

        76.      Plaintiffs incorporate the preceding paragraphs by reference.

        77.      Each Defendant misrepresented that Plaintiffs had to be in default to be considered

 for assistance, that it could not accept payments, and that it was timely and appropriately reviewing

 Plaintiffs' application for assistance and taking all appropriate actions to assist Plaintiffs, and

 suppressed that Defendants were not appropriately reviewing the applications or following

 industry standards in the servicing of the account.

         78.      Defendants' representations were false, and were knowing, reckless, and/or

 intentional.

         79.      Defendants' misrepresentations and suppressions as described herein were

 material.




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        80.     Plaintiffs reasonably relied on Defendant's misrepresentations when they

repeatedly submitted documentation, refrained from making payments at Defendant's instructions,

and did not pursue alternatives to foreclosure before significant arrears accrued.

        81.     Plaintiffs were damaged as the proximate result, including by the accrual of

significant arrears on the loan that made foreclosure inevitable, the referral of the home into

 foreclosure, and the significant harm to their credit.

          WHEREFORE, Plaintiffs respectfully request the following relief:

                 a. Actual damages;

                 b. Punitive damages;

                 c. Reasonable attorney's fees and the costs of this litigation; and

                 d. Such other relief as the Court deems equitable and just.

                  COUNT V - BREACH OF CONTRACT (DEED OF TRUST)

         82.     Plaintiffs incorporate the preceding paragraphs by reference.

         83.     Defendants and Plaintiffs are parties to a contract, namely, the Note and the Deed

 of Trust.

         84.     The contract requires that payments be applied to the account, and also that they be

 applied first to interest, then to principal, then to escrow, and to late fees only after Plaintiff is

 current on principal, interest, and escrow. Deed of Trust If 2.

         85.     "All rights   and obligations contained in this [contract] are subject to any

  requirements and limitations of Applicable Law." Id. 16.

         86.      The Deed of Trust voids any provisions contained within for Borrower to pay

  attorney's fees. Id. f 25.




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                                                                                                  give
       87.        The Deed of Trust agreement between the parties provides that "Lender shall

notice to Borrower prior to acceleration      The notice shall specify: (a) the default; (b) the action

                                                                               date the notice is given
required to cure the default; and (c) a date, not less than 30 days from the

to Borrower, by which the default must be cured." Id. 1] 22.
                                                                                          a party's
        88.       The law of contracts implies a duty of good faith and fair dealing into
                                                                                  or alter the terms of
exercise of its discretion under a contract, including the discretion to modify

 the agreement.
                                                                                         duties to
        90.       Defendant Selene breached its duties under the contract, including its

 exercise its discretion in good faith, and thereby breached the contract by:
                                                                                                  y
                  (a)     Assessing and/or threatening to assess unauthorized default and attorne

 fees to the account;

                   (b)    Directing Plaintiffs not to make payments to the account while Plaintiffs

 were seeking a loan modification;

                   (c)    Accelerating the subject loan without first providing notice of right to cure

 default;

                   (d)    Failing to provide right to cure default with 30 days' notice prior to

 foreclosure sale date;

                   (e)     Failing and refusing to provide the amount necessary to cure default until
                                                                                      d requests; and
  approximately five days prior to the foreclosure sale, despite Plaintiff s repeate

                   (e)     Assuring Plaintiffs that Defendant was working out a loan modification and

  simultaneously referring the home to foreclosure.
                                                                                            its duties
            91.     Defendant Wells Fargo breached its duties under the contract, including
                                                                                by:
  to exercise its discretion in good faith, and thereby breached the contract



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                (a)    Holding Plaintiffs' payments in a suspense account, and applying payments

incorrectly to purported amounts due;

                (b)    Discouraging Plaintiffs from providing payments to the account in order to

be considered for a loan modification;

                (c)     Directing Plaintiffs not to make payments to the account while Plaintiffs

 were seeking a loan modification; and

                (d)     Failing to comply with applicable law, including obligations under consent

 orders and federal servicing regulations.

        92.     Defendants' respective breaches of their contractual duties were intentional,

 wanton, and/or reckless.

        93,      Plaintiffs were damaged as a proximate result of Defendants' respective breaches

 of contract.

        WHEREFORE, Plaintiffs respectfully request the following relief;

                 a. A declaration that the Defendants breached the contract as alleged;

                 b. Actual and punitive damages;

                 c. Reasonable attorney's fees and the cost of this litigation; and

                 d. Such other relief as the Court deems equitable and just.

              COUNT VI — BREACH OF CONTRACT (MODIFICATION AGREEMENT)

         94.     Plaintiffs incorporate the preceding paragraphs by reference.

         95.     Defendant Wells Fargo, in its individual capacity and its capacity as Defendant
                                                                                                 tion
  Selene's predecessor in interest, offered Plaintiffs a contract, namely, the 2015 loan modifica

  agreement.

         96.      Plaintiffs accepted the contract terms.



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       96.      Plaintiffs performed on the contract as agreed.
                                                                                                 t.
       97.       Defendant breached the contract by refusing to honor the terms of the contrac

       98.       Defendant's conduct was intentional, wanton, and reckless.
                                                                                              of
       99.       Plaintiffs were damaged by Defendant's breach, including through the accrual

substantial arrears on the loan.

        WHEREFORE, Plaintiffs respectfully request the following relief;
                                                                                           t as
                a. A declaration that the Defendants breached the loan modification contrac

                   alleged;

                b. Actual and punitive damages;

                c. Reasonable attorney's fees and the cost of this litigation; and

                d. Such other relief as the Court deems equitable and just.

                COUNT VII - TORTIOUS INTEFERENCE WITH CONTRACT

        100.     Plaintiffs incorporate the preceding paragraphs by reference.
                                                                                                    fs
         101.     Plaintiffs entered into a loan contract, secured by their home, by which Plaintif
                                                                                      foreclosure. Said
 were to make payments for the benefit of the loan's owner and to ensure against

 payments were to be applied to the account,
                                                                                                      d the
         102.     Upon information and belief, Defendants Wells Fargo and Selene each service

 loan on behalf of another entity that is the true party to the contract.
                                                                                               t by
         103.     Defendants Wells Fargo and Selene intentionally interfered with said contrac
                                                                                     g to honor the 2015
  refusing Plaintiffs' payments, directing Plaintiffs not to make payments, refusin
                                                                              solutions that were
  modification agreement, and refusing to provide appropriate loss mitigation

  available.




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        104.    As a result of Defendants' actions, substantial and unaffordable arrears accrued on

 the loan over the course of approximately two years.

        105.    Plaintiffs have suffered harm and damage as the direct result of Defendants'

 interference with the contract, including substantial accrued debt and the referral to foreclosure.

        WHEREFORE, Plaintiffs respectfully request the following relief;

               a. Actual damages;

               b. Punitive damages and reasonable attorney fees and the costs of this litigation;

                  and

               c. Such other relief as this Court deems equitable and just.

       PLAINTIFFS REQUEST A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

                                                               Plaintiffs,
                                                               R. APRIL HIGGINBOTTOM,
                                                               A. PHILLIP HIGGINBOTTOM,
                                                               By counsel,




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